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                                                    IN THE UNITED STATES BANKRUPTCY COURT
                                                       FOR THE EASTERN DISTRICT OF TEXAS
                                                             MARSHALL DIVISION

                                                                                                  §      Case:       1920140
                                                                                                  §
    IN RE: TOSHA YVETTE MOORE                                          xxx-xx-9306                §      Chapter 13
                                                                                                  §
               701 N CASS ST                                                                      §
               JEFFERSON, TX 75657                                                                §

               Debtors
                                                                                                                                          1

                                 TRUSTEE’S CONFIRMATION REPORT, WITNESS & EXHIBIT LIST
                                                  (Hereinafter referred to as "Trustee's Confirmation Report)
                                              2
      ATTORNEY FOR DEBTOR: LEE LAW FIRM, PLLC
          CHAPTER 13 TRUSTEE: Lloyd Kraus
         Over Median Income Debtor.
      x Trustee certifies this is a case involving a Debtor engaged in business.
         Prior Denials (or Continuances that counted as a Denial):               12/19/2019; 3/20/20
         Objections to Confirmation by Third Parties:
         I. Budget Information
                                A. Monthly Income                                     $5,664.84
                                B. Monthly Expenses                                   $3,299.00
                                C. Difference                                         $2,365.84
                                D. Date Budget Filed                                  10/7/2019
         II. Meeting of Creditors
                                             Concluded?:         yes

               III. Summary of Plan
                                  A.   Date Plan Filed:                    4/15/2020
                                  B.   Due Date for first payment:         10/19/2019
                                  C.   Monthly payment amounts to be paid under the Plan:
                Monthly Payment Amounts    Number of Monthly Payments             Total to be Paid
                                                                                       $0.00
                        $800.00                            4                         $3,200.00
                       $1,000.00                           8                         $8,000.00
                       $2,900.00                          48                        $139,200.00

                                        D. Calculation of Estimated Net Amount Available to Creditors:
                                                                                                       $150,400.00
           1
                            For Chapter 13 Plans filed on or after 12/1/2017 using the Court's New Form Plan 3015-a.
           2   The use of the singular term "Debtor" in this Trustee's Confirmation Report includes both debtors when the case has
                                             been initiated by the filing of a joint petition by spouses.
                                Minimum Plan Base (sum of plan payments)*:                              $150,400.00
                                 Trustee Fees (10% of Minimum Plan Base):                                $15,040.00
                                         Net Amount Available to Creditors:                             $135,360.00

       *       This amount to increase by applicable portion of tax refunds and non-exempt portion of lawsuit
                     recovery, if any, to be added to plan base during the pendency of this bankruptcy.

                                         E. Disbursements to be made by Trustee pursuant to following Schedules.

                                                  Schedule A (Section 3.2 of Plan)
                Trustee to Cure Defaults (Arrears) and Debtor to Maintain Direct Payment Obligations
                                                                                                Plan
                                                     Collateral         Projected Cure Interest           Projected Monthly          Projected Total
                    Claimant
                                                                                                               Payment                    Paid
                                                     Description        Claim Amount Rate


                                                  Schedule B (Section 3.3 of Plan)
                           Trustee to Pay Secured Claims Protected from Section 506 Bifurcation
                                              (Non-cram down "910 Claims")
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                                                                                 Plan
                                                                                            Equal Monthly       Projected Total
                Claimant                   Collateral          910 Claim       Interest
                                                                                              Payment                Paid
                                           Description          Amount          Rate
                                           2012 NISSAN
                                          SENTRA, 701 N
             PEOPLEFUND                      CASS ST,           40565.82          5.5          Pro rata             47155.04
                                         JEFFERSON, TX
                                               2012
     FREEDOM TRUCK FINANCE,              FREIGHTLINER           39330.96          5.5          Pro rata            45,459.52
              LLC                          LIGHT DUTY

    NORTH EAST TEXAS CREDIT                                    $27,755.12                      Pro rata
            UNION           701 N. Cass St.                                      7.00%                             $33,596.78

                                        Schedule C (Section 3.4 of Plan)
                       Trustee to Pay Secured Claims Subject to section 506 Bifurcation
                                    ("506 Claims" subject to cram down)
                                                        506 Claim         Plan
                                                                                   Equal Monthly                Projected Total
                Claimant                Collateral     Amount to Be Interest
                                                                                      Payment                        Paid
                                        Description        Paid           Rate

                                        Schedule D (Section 3.9 of Plan)
                                               Debtor's Lien Avoidance

                                                                 If No,     Plan
                                          Fully Avoided                            Estimated Monthly Projected Total
     Claimant/Collateral Description                        Remaining 506 Interest
                                            (Yes/No)                               Payment by Trustee     Paid
                                                             Amount to be   Rate
                                                            Paid by Trustee


                                        Schedule E (Section 4.3 of Plan)
                               Trustee shall pay allowed balance of Attorney's Fees
                          Attorney                                  Total Fees             Down Payment         Allowed Balance

                 LEE LAW FIRM, PLLC                                $4,000.00                $395.00                    $3,605.00
       Attorney has elected the "No Look" fee as set forth in LBR 2016(h)(1) unless otherwise indicated:
            Fee Application.
                                          Schedule F (Priority Claims)
                Section 4.4 and 4.5 of Plan: Trustee shall pay Domestic Support Obligations (DSO)
                                                                                  Projected Monthly
                                                               Projected Claim                                     Estimated
                       DSO Claimant                                                   Payment by
                                                                   Amount                                            Total
                                                                                         Trustee


                   Section 4.6 of Plan: Trustee shall pay Taxes and Other Priority Claims
                                                                                 Projected Monthly
                                                           Projected Claim                                         Estimated
                  Priority Claimant                                                 Payment by
                                                               Amount                                                Total
                                                                                      Trustee
            INTERNAL REVENUE SERVICE                          $2,237.77               pro rata                     $2,237.77


                                        Schedule G (Section 5.1 of Plan)
                              Treatment of Special Class Nonpriority Unsecured Claims
             If allowed, the Trustee shall pay the nonpriority claims listed below as specially classified as
                  follows. If disallowed, the Claimant will be paid pursuant to Section 5.2 of the Plan.
                                                                                          Projected Claim          Estimated
                     Unsecured Claimant/Reason for Special Class
                                                                                               Amount                Total


                  F. Calculation of Projected Net Amount Available to the Unsecured Creditors:
                       Net Amount Available to Creditors
                                                                                          $3,305.89
                            [Paragraph III(D) above]
             Sum of Disbursements to be made by Trustee pursuant to
             Schedules A, B, C, D, E, F, and G from Paragraph III(E)                     $132,054.11
                                       above
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                 Projected Net Amount Available to the Unsecured
                                                                                                $3,305.89
                                     Creditors
               Total Unsecured Claims (less priority) as scheduled by
                                                                                                $84,622.78
                  Debtor in Debtor's Schedules E/F as filed herein
               Projected Percentage Dividend to the Unsecured Creditors                              4%

                 G.
                  Required Means Test Dividend:
                      Line 45 of Debtor's Means Test                                               $0.00
         Required Dividend to the Unsecured Creditors per Debtor's
                     Means Test (Line 45 x 60 Months)

         H. All allowed nonpriority unsecured claims shall be paid by the Trustee as follows (Per Section 5.2 of the Plan):
                               100 % plus interest at __%
                               100 % plus interest at __% with no future modifications to treatment under this
                               section
                               Pro Rata Share of all funds remaining after payment of all secured, priority, and
                   x
                               specially classified unsecured claims

          I.       Miscellaneous "Other" Provisions Contained in Plan:

                                               Schedule A (Section 3.5 of Plan)
                              Debtor shall pay Direct Payments of Secured Claims Not in Default
                                  Claimant                                       Collateral Description
                            RODNEY KEITH NELSON                                 HWY 49, JEFFERSON, TX
                          FIVE STAR AUTO (3rd party)                                          2008 TOYOTA

                                                  Schedule B (Section 3.6 of Plan)
                                                  Debtor shall Surrender Property
                                      Claimant                                            Collateral Description


                                            Schedule C (Section 6.1 of Plan)
           Debtor's assume these Executory Contracts and Unexpired Leases; Reject all other unlisted Executory
                                            Contracts and Unexpired Leases
                                 Claimant                                     Collateral Description


                                                     Schedule D (Part 8 of Plan)
                                              Inclusion of Nonstandard Plan Provisions

         IV. Trustee makes the following Recommendation Concerning the Proposed Plan:

                                   A. Applicable to all cases: (1) plan payments must be current at the time of the
                                   scheduled confirmation hearing; (2) all agreements with creditors must be “called” for
                                   Court approval of same pursuant to LBR 3015(f); and (3) all such creditor agreements
                                   must be incorporated into the form Confirmation Order (letter agreements are no
                                   longer to be attached to the Confirmation Order) with the creditor’s acceptance of the
                                   agreement being evidenced by the creditor’s signature on the Confirmation Order.
                                   B. Subject to Paragraph A, the Plan should be confirmed.
                                                                               OR
                      x            C. Subject to Paragraph A, Trustee makes the following objections to the Plan:

                                   a. Debtor's Failure to Prosecute Case

                                   1. Debtor has failed to make monthly Chapter 13 plan payments or has a poor history of
                                   making monthly plan payments pursuant to 11 USC 1326(a)(1) and/or has failed to dedicate
                                   all disposable income by Debtor’s failure to make Chapter 13 plan payments during the initial
                      x            months of the Plan.
                                   2. Debtor has failed to file with the Court proper certification that all post-petition payments
                                   (mortgage, DSO, auto payments, etc.) are being made direct by the Debtor as provided for in
                      x            the proposed Plan.
                                   3. Debtor’s filing of the Petition was not in good faith pursuant to 11 USC 1325(a)(7) and/or
                                   Debtor has not proposed Plan in good faith or by any means forbidden by law pursuant to 11
                                   USC 1325(a)(3).
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                         b. Plan Deficiency

                         4. Debtor has failed to file a plan or use the proper form Plan pursuant to LBR 3015(a) or
                         provide sufficient notice of said Plan per LBR 3015(f) in order to be considered for upcoming
                         confirmation hearing.
                         5. Plan fails to provide adequate protection payments to one or more claims secured by
                         personal property.
                         6. Plan proposes Debtor make direct Plan payments to Trustee without Trustee’s
                         permission.
                         7. Attorney’s fees require Court approval in that the requested amount exceeds that
                         amount as set forth in LBR 2016(h).
                         8. Plan appears to be underfunded.
                         9. Plan prefers specific unsecured claims which violates 11 USC 1322(a)(3) and
                         1322(b)(1) by discriminating against other unsecured creditors.
                         10. Plan proposes direct payment on personal property without sufficient justification. Per
                x        341 testimony, direct pay vehicle is paid by debtor, not third party.

                         c. 341(a) Meeting and Documents
                         11. Trustee has been unable to conduct and/or conclude a Meeting of Creditors per 11 USC
                         341:
                            Debtor failed to appear.
                            Debtor appeared but meeting was not held or concluded for following reason(s):

                            Debtor failed to provide to Trustee requested documents with sufficient time to review
                            prior to scheduled meeting.
                            Debtor failed to provide copies of all payment advices or other evidence of payment by
                            the Debtor in the 60 days prior to the filing of the Petition per LBR 1007(e).
                            Debtor failed to provide copy of the Federal Income Tax Return as required under
                            applicable nonbankruptcy law for the most recent tax year ending immediately before
                            the commencement of the case for which a federal income tax return was filed
                            pursuant to 11 USC 521(3)(2)(A)(i).

                         12. Trustee has requested amendments, documents, information, and/or verification as
                         outlined in the Trustee’s Report on 341 Creditors’ Meeting filed with the Court. To the
                         extent said amendments, documents, information, and/or verifications have not been
                         timely provided, the Trustee alleges that such constitutes a breach of the Debtor’s duties as
                         set forth in 11 USC 521. Need proof of interest and dividend income; 2016/2017 Tax
                x        Return; Bnk Stmts
                         13. Debtor has failed to file monthly operating reports as required by LBR 2015(a). 6
                x        months prior to petition and post-petition.

                         d. Budgetary Issues
                         14. Debtor has insufficient disposable income to fund the proposed modifications for the
                x        following reason(s):
                          x Per Budget Months 13 through 60.
                             Unemployment income and/or other income as listed on Schedule I will or has ended.
                             Lump sum payment is speculative.
                          x Other: Majority of Debtor's income "anticipated".

                         15. Debtor has failed to dedicate all of Debtor’s projected disposable income to be received in
                x        the applicable commitment period for the following reason(s):

                           Per budget remove charitable contributions - debtor testified no longer donating.
                           Per budget discretionary income $2,365, plan payment $2,900. $800 for four
                         x months, then $1,000 for 8 months.
                           Term of plan is less than the Applicable Commitment Period and such fails to provide
                           for payment in full of all of the unsecured creditors, including interest.
                           Failed to dedicate income from new job and/or other sources that are not otherwise
                           disclosed.
                           Provides for the payment of the following items that are not otherwise necessary for
                         x the effective reorganization of the Debtor: land at Hwy 49 in Jefferson.
                           Excessive expenses:
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                                     Plan fails to step-up Plan payment when the following direct payment obligation(s)
                                     conclude:

                                     Other:


                                  e. Requred Dividend to Unsecured Creditors


                                  16. Debtor has failed to file and/or accurately complete Form 22C (Statement of Current
                                  Monthly Income and Calculation of Commitment Period as follows:


                                  17. Plan fails to provide for the payment of the minimum dividend to the unsecured creditors
                                  pursuant to Form 22C (Statement of Current Monthly Income and Calculation of Commitment
                                  Period and disposable Income).
                                  18. Plan does not meet the Best Interests of Creditors Test as set forth in 11 USC 1325(a)(4)
                                  as Plan fails to provide a dividend to the unsecured creditors in a sufficient amount to equal
                                  Debtor’s equity interest in non-exempt real and/or personal property.

                                  f. Required Plan Notice and Miscellaneous Objeections

                                  19. IF DEBTOR INTENDS TO SET VALUE AT CONFIRMATION OF COLLATERAL
                                  SECURING 506 CLAIMS: Evidentiary hearing is required under Section 3.10 [applicable if
                                  Debtor intends to set value of the collateral where Debtor must demonstrate (1) service of Plan
                                  on affected Claimant; (2) credible, objective basis for the Debtor’s opinion on value; and (3)
                                  an entitlement to the relief sought by a preponderance of the evidence presented].
                                      Debtor failed to check box for “Included” in Paragraph 1.1 of the Plan.
                                  20. IF DEBTOR INTENDS TO AVOID LIEN UNDER SECTION 3.9 OF PLAN:
                                  Evidentiary hearing is required under Section 3.9 [applicable if Debtor intends to avoid lien
                                  where Debtor must demonstrate (1) service of Plan on affected Claimant; and (2) an
                                  entitlement to the relief sought, including the claims of exemptions relied upon by the Debtor
                                  has, in fact, been sustained].
                                      Debtor failed to check box for “Included” in Paragraph 1.2 of the Plan.
                                  21. IF DEBTOR INTENDS TO SEEK LIEN REMOVAL BASED UPON
                                  UNSECURED STATUS UNDER SECTION 3.11 OF PLAN: Evidentiary hearing is
                                  required under Section 3.11 [applicable if Debtor intends to seek lien removal based upon
                                  unsecured status where Debtor must demonstrate (service of Plan on affected Claimant;
                                  credible, objective basis for the Debtor’s opinion regarding asset values; and (3) an
                                  entitlement to the relief sought by a preponderance of the evidence presented].
                                      Debtor failed to check box for “Included” in Paragraph 1.2 of the Plan.

                                  22. IF DEBTOR INCLUDES NON-STANDARD PLAN PROVISIONS IN PART 8 OF
                                  THE PLAN, Trustee objects to these Non-Standard Plan Provisions on the following
                                  ground(s):
                                  23. Other: Must provide fixed monthly payments to secured creditors, no pro-rata
                                  payments. Plan contradictory in that it states home will be addressed in section 3.1 and
                                  3.4. Peoplefund for mortgage is in incorrect paragraph, should be in 3.4 is paying entire
                                  balance through Plan.
                     x



         V.     The Trustee reserves the right to call as a witness any or all of the following listed persons in relation
                                                   to confirmation of the Plan:
                                A. Chapter 13 Trustee
                                B. Staff Attorney
                                C. The presiding officer of the meeting of creditors
                                D. Any other employee as custodian of any records of the Trusteeship
                                E. Debtor
                                F. Any witness designated by any other party

              VI.   The Trustee reserves the right to introduce into evidence any or all of the following in relation to
                                                    confirmation of the Plan:
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                                 A. Copy of the Trustee’s Confirmation Report, Witness and Exhibit List.
                                 B. Copies of any plan, schedules or other pleadings (originals and amended) as filed herein by
                                    the Debtor or any other party.
                                 C. Copies of any proof of claim as filed by any creditor or other party.
                                 D. Copies of any records of the Trustee kept in the regular course of business of the
                                    Trusteeship, including computer printouts of plan payments received and disbursements
                                 E. If Debtor is self-employed, the Debtor’s monthly operating reports/profit and loss
                                    statements provided to the Trustee and/or filed with the Court.
                                 F. Copies of the Debtors’ prior years’ tax returns as provided to the Trustee.
                                 G. Copies of any other documents produced by the Debtor at the Creditors’ Meeting (or as
                                    subsequently produced as requested at the Creditors’ Meeting).
                                 H. Copies of any plan, schedules, pleadings, proof of claim(s), or amendments thereto filed in
                                    any prior bankruptcy cases previously filed by the Debtor as well as any other
                                    documentation produced by the Debtor in the prosecution of said prior bankruptcy cases.
                                 I. Copies of any other exhibits designated by any other party.

                   Copies of these designated Exhibits will be provided by the Trustee upon request


                                                        Respectfully submitted,

                                                        Lloyd Kraus
                                                        Chapter 13 Trustee


                                                        /S/Lloyd Kraus
                                                        Lloyd Kraus, SBN 24066773

                                                        110 N. College Ave. Suite 1200
                                                        Tyler, TX 75702
                                                        (903) 593-7777, Fax (903) 597-1313




                                                CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the above and foregoing document has been served upon the
         following parties in interest by mailing a copy of same to them via first class mail or electronically on:
                        5/20/2020 .



    IN RE: TOSHA YVETTE MOORE
           701 N CASS ST
           JEFFERSON, TX 75657

         LEE LAW FIRM, PLLC
         8701 BEDFORD EULESS RD., SUITE 510
         HURST, TX 76053


                                                                           /S/Lloyd Kraus
                                                                           Lloyd Kraus, Trustee
